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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

GLEN ELLYN PHARMACY, INC.,                    )
on behalf of plaintiff and                    )
the class members defined herein,             )
                                              )
               Plaintiff,                     )
                                              )       Case No. 19 cv 2829
               v.                             )
                                              )       Hon. Harry D. Leinenweber, District Judge
KLOUDSCRIPT, INC.                             )
and JOHN DOES 1-10,                           )       Hon. Susan E. Cox, Magistrate Judge
                                              )
               Defendants.                    )



                                  NOTICE OF SETTLEMENT
       Plaintiff Glen Ellyn Pharmacy, Inc., by and through its attorneys Edelman, Combs,

Latturner & Goodwin, LLC, hereby informs this Court that the parties have reached an

individual settlement which will resolve the case in its entirety. Plaintiff expects to complete the

settlement within the next 45 days and file a Stipulation to Dismiss with prejudice.



                                                      Respectfully submitted,

                                                      s/ Dulijaza Clark
                                                      Dulijaza Clark

Daniel A. Edelman
Dulijaza (Julie) Clark
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                              CERTIFICATE OF SERVICE

        I, Dulijaza Clark, hereby certify that on May 14, 2020, a true and accurate copy of
the foregoing document was filed via the Court’s CM/ECF system, which caused to be served a
true and accurate copy of such filing via email upon all counsel on record.



                                                 s/ Dulijaza Clark
                                                 Dulijaza Clark


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